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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------------X
BUILDING SERVICE 32BJ PENSION FUND,

                                      Plaintiff,
                                                                                          NOTICE OF
         -against-
                                                                                          DISMISSAL
1068 Winthrop Owner, LLC, 1236 Pacific Realty Owner LLC,
1311 Lincoln Owner LLC, 2525 Realty Owner LLC,                                            19-CV-599 (VSB)
264 Realty Owner LLC, 3420 Newkirk Owner LLC,
363 Beverly Owner LLC, 51 Lott Owner LLC,
869 Boyland Owner LLC, 913 Boyland Owner LLC,
DMG 530 Owner LLC, DMG Linden Owner LLC,
Wyona Realty Owner LLC, East 94th Realty Owner LLC,
Glenn Realty Owner LLC, Kings Portfolio LLC,
Lott Realty Owner LLC, and ABC COMPANIES 1-10
(all other trades or businesses under common control with
1068 Winthrop Owner, LLC, 1236 Pacific Realty Owner LLC,
1311 Lincoln Owner LLC,2525 Realty Owner LLC,
264 Realty Owner LLC, 3420 Newkirk Owner LLC,
363 Beverly Owner LLC, 51 Lott Owner LLC,
869 Boyland Owner LLC, 913 Boyland Owner LLC,
DMG 530 Owner LLC, DMG Linden Owner LLC,
Wyona Realty Owner LLC, East 94th Realty Owner LLC,
Glenn Realty Owner LLC, Kings Portfolio LLC,
Lott Realty Owner LLC), 3502 Kings Highway Co LLC,
3900 Kings Highway Co LLC, and David Malek
and Peter Rebenwurzel,

                                       Defendants.
------------------------------------------------------------------------------------X

PLEASE TAKE NOTICE, that the above captioned matter is voluntarily dismissed by Plaintiff without
prejudice pursuant to Fed. R. Civ. Pro. 41 (a)(i), as no answer has been filed by an adverse party. Each
party to bear its respective costs and attorney fees.


Dated: Fort Lee, New Jersey
       April 15, 2019

                                                          Raab, Sturm& Ganchrow, LLP


                                                          s/ Ira A. Sturm
                                                          By: Ira A. Sturm (IS-2042)
                                                          Attorneys for Plaintiff
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                                                          Fort Lee, New Jersey 07024
